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                   Exhibit C
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PAUL F. PELOSI




May 17, 2024


The Honorable Jacqueline Scott Corley
United States District Court
Northern District of California
450 Golden Gate Avenue
San Francisco, CA 94102

Dear Judge Corley,

Ever since the defendant violently broke into my home and woke me up
yelling “Where’s Nancy?” at 2:00 am on October 28, 2022, my life has been
irrevocably changed.

Awakened by a large violent man holding a hammer and zip ties, I tried to calm
him and save my own life. I tried escaping from my bedroom to the elevator to
call the police but he crowded into the elevator with me and prevented my
escape or rescue. The defendant knew I was alone and could have left once
he learned that my wife Nancy Pelosi, then Speaker of the House of
Representatives, was in Washington, DC for work — but he kept me hostage in
my own home saying he would wait for her. I managed to make my way into
my bathroom to call the police — and he could have left — but he continued to
stay. He threatened me, saying he would tie me up and wait for my wife. He
repeatedly said that he could “take me out.” I finally convinced the defendant
to go downstairs — and just when the police arrived and I thought I would be
free, he did not run away out the back patio door that he’d broken into — or
even run past the police officers who stood at the door without their guns or
tasers in hand. Instead, as he later testified, the defendant made me “take the
punishment” with a vicious assault. After the defendant struck me in the head
with blows from his hammer, I fell unconscious.

When I awoke in a pool of my own blood, I had severe head, arm and hand
injuries. The paramedics who cut off my clothes and put tourniquets on my
head and arms kept me awake and helped save my life. But even after
emergency trauma surgery and six days at San Francisco General Hospital, my
injuries were severe and persistent.

My head injuries continue to affect my life. My hair grew back — but I have
bumps on my head from the hammer blows and a metal plate from skull
surgery. The dizziness has not gone away. In late November of 2023 — 13
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months after the assault — I felt vertigo and fell twice at home, leading to
extensive medical evaluations including MRIs and nerve block injections in my
neck. Treatments continued into February 2024. I walk slowly and have
difficulty with my balance. Nearly every day I get headaches that become
migraines unless quickly addressed. I need to sleep during the day and
cannot tolerate bright lights or loud noises for extended periods of time.

The defendant severely damaged the nerves in my left hand. My forehand
was “de-gloved” exposing raw nerves and blood vessels. Surgeries and
treatments mostly healed the skin, but underneath I still feel pinched nerves in
my left hand. This makes basic tasks like using buttons, cutlery and simple
tools more difficult.

My right arm had several stitches for 8 weeks.

For months, sleeping alone in my home was very difficult because I kept
remembering the defendant breaking into my house.

To this day, I keep away from media and video of the attack for my own peace
of mind. My family and friends were traumatized by the attack — and many
political spouses with whom I have grown close during my wife’s service in
Congress have been both sympathetic to me and scared for their own safety.
To protect my healing, I do not address the assault with my wife or anyone
else. Nor do I discuss the trauma experienced by my wife who remains under
24-hour security even though she is no longer serving as Speaker of the
House.

It has taken many months to reclaim my home and well-being. Even so, we do
not answer our landline phone or our front door due to ongoing threats. We
cannot fully remove the stain on the floor in the front entryway where I bled.
As recently as this week, we have had to improve security measures at our
home due to ongoing threats.

I ask that you consider the premeditated kidnapping of my wife, the vicious
assault on my life, and the ongoing physical and mental injuries caused by the
defendant and sentence him to the fullest extent the law provides.

Thank you for your consideration.

Sincerely,

Paul Pelosi
